              Case 5:24-cv-05004-TLB Document 3                             Filed 01/08/24 Page 1 of 5 PageID #: 3

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                                                                U TED STATES DISTRICT COURT
                                                                                                    for the
                                                                                                  District of

                                                                                                      Division


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                                                                           COMPLAINT FOR A CIVIL CASE

                       I.         The Parties to This Complaint
                                  A.         The Plaiotiff(s)

                                             Provide the information belO'\.~, for each plaintiff named in the complaint. Attach
                                             needed.
                                                        Name
                                                        Street Address
                                                        City and County
                                                        State and Zip Code
                                                        Telephone . umber
                                                        E-mail Address

Page 1 of 5                                                                                                   100%   Give Feedback to Microsoft
                 Case 5:24-cv-05004-TLB Document 3                         Filed 01/08/24 Page 2 of 5 PageID #: 4

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                                  b.         If the defendant is a corporation
                                             The defendant, (name)     ~ fJ11 f i ll                 ________ , is incorporated under
                                             the laws of the State of (name)     ~ Mfll'S?-a'S.\-                                 , and has its
                                             principal place of business in the State of (name)        J             Ne 'D ~         ,
                                             Or is incorporated under the laws of (foreign nation)
                                             and has its principal place of business in (name)

                                  (If more than one defendant is named in the complaint, attach an additional page providing the
                                  same information for each additional defendant.)

                        3.         The Amount in Controversy

                                   The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                   stake-is more than $75,000, not counting interest and costs of court, because (explain):


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  III.       Statement of Claim

            Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
            facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
            involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
            the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
            write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.



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  IV.        Relief

            State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
            arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
            the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any



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            punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or


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                                       6) Compla.Ult for a Ch"11 Cue


                                        Defendant No. 1
                                                  Name
                                                  Job or Title fiflam1111)
                                                  Street Address                              109- Sw g sf
                                                  City and County
                                                  State and Zip Code
                                                  Telephone Number
                                                  E-mail Address (ifb,ow11J


                                        Defendant -o. 2
                                                  Name
                                                  Job or Title fijlo10W11)
                                                  Street Address
                                                  City and County
                                                  State and Zip Code
                                                  Telephone Number
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                                        Defendant           o. 3
                                                  Name
                                                  Job or Title fi/ la'IOW11}
                                                  Street Address
                                                  City and County
                                                  State and Zip Code
                                                  Telephone Number
                                                  E-mail Address (if Jawwn)


                                        Defendant No . 4
                                                  Name
                                                  Job or Title fi/lo10W11)
                                                  Street Address
                                                  City and County
                                                  State and Zip Code
                                                  .,-,_1 _ _ 1.. - - - ""' ____ t.. - -

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                Case 5:24-cv-05004-TLB Document 3                  Filed 01/08/24 Page 4 of 5 PageID #: 6



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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, 'l certify to the best ofmy knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as fo harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff

           B.         For Attorneys                                                                                               '_,,

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address
Case 5:24-cv-05004-TLB Document 3   Filed 01/08/24 Page 5 of 5 PageID #: 7




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